  Case: 1:21-cv-03977 Document #: 26-1 Filed: 08/13/21 Page 1 of 2 PageID #:3122




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

LUXOTTICA GROUP S.p.A., OAKLEY,
INC., and COSTA DEL MAR, INC.,               Case No. 21-cv-03977

                   Plaintiffs,               Hon. Steven C. Seeger

      v.                                     Magistrate Judge Beth W. Jantz

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

                   Defendants.


                           Declaration of Justin R. Gaudio
  Case: 1:21-cv-03977 Document #: 26-1 Filed: 08/13/21 Page 2 of 2 PageID #:3123




                          DECLARATION OF JUSTIN R. GAUDIO

   I, Justin R. Gaudio, of the City of Chicago, in the State of Illinois, declare as follows:

1. I am an attorney at law, duly admitted to practice before the Courts of the State of Illinois

   and the United States District Court for the Northern District of Illinois. I am one of the

   attorneys for Plaintiffs Luxottica Group S.p.A., Oakley, Inc., and Costa Del Mar, Inc.

   (collectively, “Plaintiffs”). Except as otherwise expressly stated to the contrary, I have

   personal knowledge of the following facts and, if called as a witness, I could and would

   competently testify as follows:

2. Since January 1, 2020, Plaintiffs have filed 17 cases asserting claims of trademark

   infringement, that included a Schedule A, in the Northern District of Illinois. Plaintiff

   Oakley, Inc. has also filed 34 cases asserting design patent rights. Schedule B attached

   hereto is a true and correct list of these cases.

3. In 2016, Plaintiffs identified and shut down over 30,600 websites offering for sale products

   bearing counterfeit versions of Plaintiffs’ trademarks. That figure decreased significantly to

   less than 2,000 domains in 2021 year to date. Exhibit 1 attached hereto is a true and accurate

   copy of a chart illustrating the consistent year-over-year decrease.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on this the 13th day of August 2021 at Chicago, Illinois.


                                               /s/ Justin R. Gaudio
                                               Justin R. Gaudio
                                               Counsel for Plaintiffs
                                               Luxottica Group S.p.A., Oakley, Inc., and Costa Del
                                               Mar, Inc.




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